Case 8:19-mc-00005-AG-DFM Document 26-3 Filed 10/12/18 Page 1 of 10 Page ID #:600




                                 Exhibit C
Case 8:19-mc-00005-AG-DFM Document 26-3 Filed 10/12/18 Page 2 of 10 Page ID #:601




                               UNITED STATES OF AMERICA
                                         Before the
                          SECURITIES AND EXCHANGE COMMISSION

    SECURITIES EXCHANGE ACT OF 1934
    Release No. 84309 / September 28, 2018

    ADMINISTRATIVE PROCEEDING
    File No. 3-18851

                                                         ORDER INSTITUTING ADMINISTRATIVE
    In the Matter of                                     AND CEASE-AND-DESIST PROCEEDINGS,
                                                         PURSUANT TO SECTIONS 15(b) AND 21C
           COR CLEARING, LLC,                            OF THE SECURITIES EXCHANGE ACT OF
                                                         1934, MAKING FINDINGS, AND IMPOSING
    Respondent.                                          REMEDIAL SANCTIONS AND A CEASE-
                                                         AND-DESIST ORDER


                                                    I.

             The Securities and Exchange Commission (“Commission”) deems it appropriate and in the
    public interest that public administrative and cease-and-desist proceedings be, and hereby are,
    instituted pursuant to Seetions 15(b) and 21C of the Seeurities Exchange Act of 1934 ( Exchange
    Act”) against COR Clearing, LLC (“COR” or “Respondent”).

                                                   II.

            In anticipation of the institution of these proceedings. Respondent has submitted an Offer
    of Settlement (the “Offer”) which the Commission has determined to accept. Solely for the
    purpose of these proeeedings and any other proceedings brought by or on behalf of the
    Commission, or to which the Commission is a party, and without admitting or denying the findings
    herein, except as to the Commission’s jurisdiction over it and the subject matter of these
    proceedings, which are admitted. Respondent consents to the entry of this Order Instituting
    Administrative and Cease-and Desist Proeeedings, Pursuant to Sections 15(b) and 21C of the
    Seeurities Exehange Act of 1934, Making Findings and Imposing Remedial Sanctions and a
    Cease-and-Desist Order (“Order”), as set forth below.
Case 8:19-mc-00005-AG-DFM Document 26-3 Filed 10/12/18 Page 3 of 10 Page ID #:602




                                                    III.

           On the basis of this Order and Respondent’s Offer, the Commission finds' that:

                                               SUMMARY

             This matter concerns the failure by COR to file Suspicious Activity Reports (“SAR” or
    “SARs”) for certain suspicious trade and wire activity relating to the deposit and sale of low-priced
    securities during the period from January 2015 through June 2016 (the “relevant period“). During
    the relevant period, COR cleared sales of shares of low-priced securities on behalf of customers of
    its introducing broker-dealer clients. These trades included a number of instances in which the
    customer deposited a large block of low-priced securities and sold the securities into the market
    shortly thereafter, and, later, withdrew the proceeds of these sales from its accounts. In some
    instances, the same customer engaged in this pattern of depositing large blocks of low-priced
    securities followed by sales and withdrawals with respect to multiple securities. COR failed to file
    SARs with respect to a subset of these transactions. As a result of this conduct, COR willfully
    violated Section 17(a) of the Exchange Act and Rule 17a-8 thereunder.^

                                              RESPONDENT

           COR is a registered broker-dealer headquartered in Omaha, Nebraska. COR was
    previously known as Legent Clearing, LLC (“Legent”), which changed its name to COR Clearing
    LLC following its acquisition by COR Securities Holdings, Inc. (“CORSHI”) in January of 2012.
    Originally as Legent, COR has been registered with FINRA since June 4, 2002. COR derives the
    majority of its revenues from clearing and settlement of fixed income and equity securities for
    approximately 79 introducing broker-dealers (“IBDs”).

                                                  EACTS

    Background

            1.      COR’s practice of accepting low-priced securities for deposit and subsequent sale
    on behalf of the customers of its introducing broker-dealer clients predates CORSHI’s acquisition
    of Legent in 2012. COR continued clearing sales of low-priced security deposits after the
    acquisition. In 2016, for example, COR ranked second among all broker-dealers in terms of the

            The findings herein are made pursuant to Respondent’s Offer of Settlement and are not
            binding on any other person or entity in this or any other proceeding.

            A willful violation of the securities laws means merely “that the person charged with the
            duty knows what he is doing.” Wonsover v. SEC, 205 F.3d 408, 414 (D.C. Cir. 2000)
            (quoting Hughes v. SEC, 174 F.2d 969, 977 (D.C. Cir. 1949)). There is no requirement
            that the actor “also be aware that he is violating one of the Rules or Acts.” Id. (quoting
            Gearhart & Otis. Inc, v. SEC, 348 F.2d 798, 803 (D.C. Cir. 1965)).
Case 8:19-mc-00005-AG-DFM Document 26-3 Filed 10/12/18 Page 4 of 10 Page ID #:603




    dollar value of shares deposited with a price of $1 per share or less at The Depository Trust &
    Clearing Corporation.

    Relevant Regulatory History

             2.      In 2013, COR settled a FINRA action that resolved findings from multiple FINRA
    exams of Legent (the “FINRA Action”) from prior years. The FINRA Action focused on ^
    operational issues preceding the acquisition, but identified certain shortcomings in Legent s AML
    program as well, including a failure to devote adequate attention to AML surveillance and the
    failure to identify or report suspicious activity in 2009 and in early 2012.

            3.     Beginning in early 2012, COR’s new management began to take a number of steps
    to remediate the AML issues identified in the FINRA examinations that ultimately gave rise to the
    FINRA Action. These steps included expanding its AML-compliance staff, and implementing an
    automated suspicious activity software system provided by a third party vendor. As part of the
    settlement with FINRA, COR also hired a consulting firm to review the state of its AML
    compliance program and make recommendations. Subsequently, COR hired a second consulting
    firm (the “Consulting Firm”) to address and implement the recommendations arising from the first
    firm’s review.

            4.      Starting in early 2015 and through the issuance of a final report in January of 2016
    (the “Consulting Report”), the Consulting Firm identified, among other things, a number of areas
    for COR to review and improve regarding the operation of the third party automated suspicious
    activity software licensed by COR and COR’s understanding of how this software worked.

            5.     For example, the third party automated suspicious activity detection software
    licensed by COR used 24 separate models to identify potentially suspicious activity for SAR-fihng
    consideration (the “AML Software”). The Consulting Report identified potential problems with
    the AML Software, including the potential for data being loaded incorrectly or not loaded at all
    into the AML Software, and advised COR of the need to clearly understand the parameters that the
    AML Software used to identify suspicious activity.

            6.       Despite its efforts to implement the Consulting Firm’s recommendations between
    2015 and 2016, COR experienced persistent difficulties with the operation of its AML Software
    relative to flagging deposit, sale, and withdrawal (“DSW”) transactions for review.

    COR’s AML Policies and Procedures

            7.      COR’s AML policies as of 2016 stated that “[pjroblems can arise when firms fail to
    recognize or take appropriate steps when confronted with ‘red flags’ that signal the possibility of
    an illegal, unregistered distribution” with regard to low-priced securities, and that such red flags
    included a “customer [having] a pattern of depositing physical share certificates, immediately
Case 8:19-mc-00005-AG-DFM Document 26-3 Filed 10/12/18 Page 5 of 10 Page ID #:604




    selling the shares and then wiring out the proceeds of the resale.”^ COR’s AML policies
    recognized since at least early 2013 that the foregoing DSW activity indicated a red flag. Despite
    these policies, COR’s AML procedures, including those discussed in paragraphs 9 through 11
    below, were not reasonably tailored to the risks associated with COR’s low-priced securities
    business.

            8.      COR’s procedures for review of DSW transactions relied in part on three models
    utilized by the AML Software. One of these, the Low Priced Security Frequency alert, was
    designed to generate “alerts” if deposits and/or trades of securities within COR’s systems met
    certain specified criteria of price, volume, and frequency, and thereby flag potentially suspicious
    activity for additional review by COR’s AML staff.

            9.       During the relevant period, however, the Low Priced Security Frequency alert was
    programed to generate alerts only for sales of low-priced securities priced below $1 per share,
    despite the fact that consistent with the definition of a penny stock in 17 C.F.R. § 240.3a51-l the
    Commission and FINRA have both publicly stated that penny stocks are generally securities not
    listed on a national securities exchange and priced under $5 per share.'^

            10.     Moreover, during the relevant period, the Low Priced Security Frequency alert at
    times failed to generate all the alerts it was supposed to generate. This occurred, in part, because
    COR’S AML Software required the activation of an extraneous parameter relating to the timing of
    cash transactions in order for the alerts to be generated.

            11.    Finally, during the relevant time period, COR’s AML Software lacked a system or
    control for monitoring suspicious conduct with respect to trades in low-priced securities made by
    an IBD’s customer across multiple securities, or within certain date ranges.

    COR’s Failure to File SARs

            12.     COR cleared for sale a significant amount of penny stock that was originally
    deposited by its IBD’s customers. For example, between January 2015 and June 2016,
    approximately 193 accounts from COR’s IBDs deposited and sold blocks of low-priced securities
    and withdrew cash proceeds from the sale. Each DSW transaction occurred within 30 days and in
    amounts over $100,000, and involved multiple penny stock sales and outgoing money transfers.
    Nonetheless, unless another one of the modules of the AML Software flagged the transaction


    ^       FINRA Notice to Members 09-05, which outlines various red flags that could be
    indicative of an unregistered distribution, similarly includes as a red flag: “A customer has a
    pattern of depositing physical share certificates, immediately selling the shares and then wiring
    out the proceeds of the resale.”
    “       See “Penny Stock Rules,” https://www.sec.gov/fast-answers/answerspennvhtm.html;
    “OTCBB Glossary,” http://www.fmra.org/industrv/otcbb/otcbb-glossary.
Case 8:19-mc-00005-AG-DFM Document 26-3 Filed 10/12/18 Page 6 of 10 Page ID #:605




    activity, the Software failed to alert COR’s AML staff to review a number of DSW transactions
    due to the software issues described above in paragraphs 9 through 11.

            13.     Below are examples of customers of COR’s IBDs who engaged in multiple DSW
    transactions in the same aceount lacking any apparent business or lawful purpose.

           14.     COR did not file SARs identifying the patterns and transaetions deseribed below in
    paragraphs 15 through 17.

           15.     Customer Account A

                      a. Between January 2015 and April 2016, an aecount opened at a COR IBD
                         (“Customer Account A”) engaged in a repeated DSW pattern in at least
                         three different low-priced securities.

                       b. Between January 2015 and April 2016, Customer Account A received
                          approximately 24 physical deposits of large blocks of a certain low-priced
                          security issuer (“Security Al”), and engaged in over 150 sales of Security
                          A1 in the days immediately following the deposits, for a total of over 306
                          million shares of Security Al deposited and over 273 million shares of
                          Security Al sold within this time period.

                       c. Between January and November 2015, Customer Aecount A received
                          approximately 28 physical deposits of large blocks of a second low-priced
                          security issuer (“Security A2”), and engaged in over 80 sales of Security A2
                          in the days immediately following the deposits, for a total of over 1.2 billion
                          shares of Security A2 deposited and over 1 billion shares of Security A2
                          sold within this time period.

                       d. Between April and December 2015, Customer Account A received three
                          physical deposits of large blocks of a third low-priced security issuer
                          (“Security A3”), and engaged in over 25 sales of Security A3 in the days
                          immediately following the deposits, for a total of over 2.1 million shares of
                          Security A3 deposited and over 2 million shares of Security A3 sold within
                          this time period

                       e. In 2015 alone. Customer Account A withdrew more than $ 11 million from
                          the proceeds of this aetivity within a short period of time after the sales of
                          blocks of these securities.
Case 8:19-mc-00005-AG-DFM Document 26-3 Filed 10/12/18 Page 7 of 10 Page ID #:606




           16.     Customer Account B

                       a. Between January and September 2015, an account opened at a COR IBD
                          (“Customer Account B”) engaged in a repeated DSW pattern in at least two
                          different low-priced securities.

                       b. In January of2015, Customer Account B received a physical deposit of 30
                          million shares of a certain low-priced security issuer (“Security Bl”), and
                          sold all 30 million shares of Security Bl in three different transactions over
                          the next two weeks.

                       c. Between January and November 2015, Customer Account B received
                          approximately 28 physical deposits of large blocks of a second low-priced
                          security issuer (“Security B2”), and engaged in over 80 sales of Security B2
                          in the days immediately following the deposits, for a total of over 1.2 billion
                          shares of Security B2 deposited and over 1 billion shares of Security B2
                          sold within this time period.

                       d. Customer Account B withdrew more than $ 1.24 million from the proceeds
                          of this activity, within a short period of time after the sales of blocks of
                          these securities.

             17.     At least three other COR IBD customers engaged in the pattern of DSW described
    above. Customer C deposited over 600 million shares in three different securities, sold most of
    them within days of the deposits, and contemporaneously withdrew more than $1.2 million from
    the proceeds of this activity; Customer D deposited over 110 million shares in two different
    securities, sold most of them within days of the deposits, and contemporaneously withdrew more
    than $890,000 from the proceeds of this activity; Customer E deposited over 7 million shares in
    five different securities, sold most of them within days of the deposits, and contemporaneously
    withdrew more than $740,000 from the proceeds of this activity.

                                               VIOLATIONS

             18.     The Bank Secrecy Act (the “BSA”), and implementing regulations promulgated by
    Financial Crimes Enforcement Network (“FinCEN”), require that broker-dealers file SARs with
    FinCEN to report a transaction (or a pattern of transactions of which the transaction is a part)
    conducted or attempted by, at, or through the broker-dealer involving or aggregating to at least
    $5,000 that the broker-dealer knows, suspects, or has reason to suspect: (1) involves funds derived
    from illegal activity or is conducted to disguise funds derived from illegal activities; (2) is designed
    to evade any requirement of the BSA; (3) has no business or apparent lawful purpose or is not the
    sort in which the particular customer would normally be expected to engage, and the broker-dealer
    knows of no reasonable explanation for the transaction after examining the available facts,
    including the background and possible purpose of the transaction; or (4) involves use of the broker-
    dealer to facilitate criminal activity. 31 C.F.R. § 1023.320(a)(2) (“SARRule”).
Case 8:19-mc-00005-AG-DFM Document 26-3 Filed 10/12/18 Page 8 of 10 Page ID #:607




             19.      Exchange Act Rule 17a-8 requires broker-dealers registered with the Commission
    to comply with the reporting, record-keeping, and record retention requirements of the BSA. The
    failure to file a SAR as required by the SAR Rule is a violation of Section 17(a) of the Exchange
    Act and Rule 17a-8 thereunder.

            20.    By engaging in the conduct described above, COR willfully violated Section 17(a)
    of the Exchange Act and Rule 17a-8 thereunder.

                                     COR’S REMEDIAL EFFORTS

           21.    In determining to accept the Offer, the Commission considered the remedial acts
    undertaken by Respondent relating to the surveillance of trading in low-priced securities.

                                            UNDERTAKINGS

             22.     COR undertakes to not approve for open market sale any equity security that does
    not trade on a national securities exchange and trades at a price of less than $5 per share at the time
    it is submitted to COR for sale approval; provided, however, that COR may approve for sale on the
    open market any such security if:

                       a. COR obtains and retains a trade confirmation evidencing that the securities
                          were purchased on the open market, as opposed to having been deposited at
                          COR or another broker-dealer;

                       b. The securities are exempt from the Securities Act of 1933’s (“Securities
                          Act”) registration requirements under Section 3(a)(2) or Section 3(a)(5) of
                          the Securities Act, or the securities are defined as “government securities”
                          under Section 3(a)(42) of the Exchange Act;

                        c. The security is an unsponsored American Depositary Receipt (“ADR”);^ or

                        d. The aggregate value of the sale of the securities of any particular issue is
                           less than $10,000 and the customer has not availed itself of this exception
                           within the last three months in any account in the name of the customer, in


    ^       ADRs may be “unsponsored” or “sponsored.” For purposes of this Order, an unsponsored
    ADR is set up without the cooperation of a non-U.S. company and may be initiated by a broker-
    dealer wishing to establish a U.S. trading market. In contrast, sponsored ADRs are those in which
    the non-U.S. eompany enters into an agreement direetly with the U.S. depositary bank to arrange
    for recordkeeping, forwarding of shareholder communications, payment of dividends, and other
    services.
Case 8:19-mc-00005-AG-DFM Document 26-3 Filed 10/12/18 Page 9 of 10 Page ID #:608




                           which the customer has a beneficial interest as defined in 31 CFR Seetion
                           1010.230, or over which the eustomer has trade or signatory authority.

            23.      COR will certify, in writing, the implementation of systems and procedures
    required for compliance with the undertakings set forth above in paragraph 22. The certification
    shall identify the undertakings, provide written evidence of compliance in the form of a narrative,
    and be supported by exhibits sufficient to demonstrate compliance. The Commission staff may
    make reasonable requests for further evidence of compliance, and Respondent agrees to provide
    such evidence. The certification and supporting material shall be submitted to Jorge Tenreiro,
    Senior Trial Counsel, with a copy to the Office of Chief Counsel of the Division, no later than the
    7 days after the institution of these proceedings. The undertakings in paragraph 23 will continue
    beyond this certification.

           24.     COR agrees that it will require any broker-dealer that is a suceessor in interest to
    COR, ineluding any successors as defined in 17 C.F.R. § 240.15bl-3 and any broker-dealer that
    aequires or otherwise obtains substantially all of COR’s assets and liabilities, business, or
    customers to agree to comply with these undertakings.

                                                     IV.

           In view of the foregoing, the Commission deems it appropriate, in the public interest, to
    impose the sanctions agreed to in Respondent’s Offer.

        Accordingly, pursuant to Sections 15(b) and 21C of the Exehange Act, it is hereby
    ORDERED that:

            A.      Respondent ceases and desists from committing or causing any violations and any
    future violations of Section 17(a) of the Exchange Act and Rule 17a-8 promulgated thereunder.

            B.      Respondent is censured.

            C.      Respondent shall comply with the undertakings in paragraph 22 through 24.

           D.      Respondent shall pay a civil penalty of $800,000, to the Securities and Exchange
    Commission within thirty (30) days of the entry of this Order for transfer to the general fund of the
    United States Treasury in accordanee with Exchange Act Section 21F(g)(3).

            E.      If any payment is not made by the date the payment is required by this Order, the
    entire outstanding balance of civil penalties, plus any additional interest accrued pursuant to 31
    U.S.C. 3717, shall be due and payable immediately, without further application. Payment must be
    made in one of the following ways:

                    (1)     Respondent may transmit payment electronically to the Commission, which
                            will provide detailed ACH transfer/Fedwire instructions upon request;
Case 8:19-mc-00005-AG-DFM Document 26-3 Filed 10/12/18 Page 10 of 10 Page ID #:609




                    (2)    Respondent may make direct payment from a bank account via Pay.gov
                           through the SEC website at httD://www.sec.gov/about/offices/ofm.htm; or

                    (3)     Respondent may pay by certified check, bank cashier’s check, or United
                            States postal money order, made payable to the Securities and Exchange
                            Commission and hand-delivered or mailed to:

                                    Enterprise Services Center
                                    Accounts Receivable Branch
                                    HQ Bldg., Room 181, AMZ-341
                                    6500 South MacArthur Boulevard
                                    Oklahoma City, OK 73169

             Payments by check or money order must be accompanied by a cover letter identifying
    Respondent in these proceedings, and the file number of these proceedings; a copy of the cover
    letter and check or money order must be sent to Lara Shalov Mehraban, Assoeiate Regional
    Director, Division of Enforcement, Securities and Exchange Commission, New York Regional
    Office, 200 Vesey Street, Suite 400, New York, New York 10281.

            F.      Amounts ordered to be paid as civil money penalties pursuant to this Order shall be
    treated as penalties paid to the government for all purposes, including all tax purposes. To
    preserve the deterrent effeet of the civil penalty, Respondent agrees that in any Related Investor
    Action, they shall not argue that they are entitled to, nor shall they benefit by, offset or reduction of
    any award of compensatory damages by the amount of any part of Respondent’s payment of a civil
    penalty in this action (“Penalty Offsef’). If the court in any Related Investor Action grants such a
    Penalty Offset, Respondent agrees that he shall, within 30 days after entry of a final order granting
    the Penalty Offset, notify the Commission’s counsel in this action and pay the amount of the
    Penalty Offset to the Securities and Exehange Commission. Such a payment shall not be deemed
    an additional eivil penalty and shall not be deemed to change the amount of the civil penalty
    imposed in this proceeding. For purposes of this paragraph, a “Related Investor Action means a
    private damages action brought against Respondent by or on behalf of one or more investors based
    on substantially the same facts as alleged in the Order instituted by the Commission in this
    proceeding.

            By the Commission.

                                                             Brent J. Fields
                                                             Secretary
